                 Case 4:15-cr-00276-KGB                       Document 737            Filed 09/19/17           Page 1 of 7
A0245D       (Rev. 09/11) Judgment in a Criminal Case for Revocations
             Sheet I


                                                                                                                                        KANSAS
                                      UNITED STATES DISTRICT COURT
                                                                                                                          SEP 1 9-2017

         UNITED STATES OF AMERICA
                             v.                                          (For Revocation of Probation or Supervised Release)
                   WILLIE PIERCE

                                                                         Case No. 4:15-cr-00276-20
                                                                         USM No. 29811-009
                                                                          ERIC GRIBBLE
                                                                                                   Defendant's Attorney
THE DEFENDANT:
~admitted guilt to violation ofcondition(s)             _1_-2_ _ _ _ _ _ _ _ _ _ ofthe tenn of supervision.
D   was found in violation of condition(s)                                            after denial of guilt.
The defendant is adjudicated guilty of these violations:


Violation Number                                            Nature of Violation                                   Violation Ended
1                                 Failure to refrain from any unlawful use of a controlled

                                  substance. Failure to submit to one drug test within 15 days

                                  of release from imprisonment and at least two periodic drug

                                  tests thereafter, as determined by the court.                                08/25/2017
       The defendant is sentenced as provided in pages 2 through _ _7 __ ofthis judgment. The sentence is imposed pursuant to
the Sentencing Refonn Act of 1984.
D   The defendant has not violated condition(s) - - - - - - - a n d is discharged as to such violation(s) condition.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully pa~d. ~f ordered to pay restitution, the defendant must notify the court and United States attorney of material changes m
economic crrcumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 6844                       09/15/2017
                                                                                              Date of Imposition of Judgment
Defendant's Year of Birth:           1970

City and State of Defendant's Residence:                                          '                 Signature of Judge
Little Rock, Arkansas
                                                                          Kristine G. Baker                              U.S. District Judge
                                                                                                 Name and Title of Judge


                                                                                                           Date
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AO 2450   (Rev. 09/11) Judgment in a Criminal Case for Revocations
          Sheet IA

                                                                                       Judgment-Page   _..,..2_ of    7
DEFENDANT: WILLIE PIERCE
CASE NUMBER: 4:15-cr-00276-20

                                                     ADDITIONAL VIOLATIONS

                                                                                                              Violation
Violation Number              Nature of Violation                                                             Concluded
2                             Failure to pay restitution in the amount of $600.00.                            07/31/2017
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AO 2450       (Rev. 09/l l) Judgment in a Criminal Case for Revocations
              Sheet 2- Imprisonment

                                                                                             Judgment- Page   _....,3_ of       7
DEFENDANT: WILLIE PIERCE
CASE NUMBER: 4:15-cr-00276-20


                                                                   IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
total term of :




   D The court makes the following recommendations to the Bureau of Prisons:




   D      The defendant is remanded to the custody of the United States Marshal.

   D The defendant shall surrender to the United States Marshal for this district:
          D     at   --------- D                          a.m.      D p.m.    on
          D     as notified by the United States Marshal.

   D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          D    before 2 p.m. on
          D     as notified by the United States Marshal.
          D     as notified by the Probation or Pretrial Services Office.

                                                                          RETURN

I have executed this judgment as follows:




       Defendant delivered on                                                        to

at - - - - - - - - - - - - - - with a certified copy of this judgment.




                                                                                          UNITED STATES MARSHAL



                                                                             By - - - - - ---
                                                                                        DEPUTY  ---
                                                                                               UNITED   ---
                                                                                                      STATES  -------
                                                                                                             MARSHAL
                   Case 4:15-cr-00276-KGB                        Document 737      Filed 09/19/17          Page 4 of 7
  AO 2450     (Rev. 09/l l) Judgment in a Criminal Case for Revocations
              Sheet 3 - Supervised Release
                                                                                                    Judgment-Page      4    of----'?_ _
  DEFENDANT: WILLIE PIERCE
  CASE NUMBER: 4:15-cr-00276-20
                                                              SUPERVISED RELEASE

  Upon release from imprisonment, the defendant shall be on supervised release for a term of:
The defendant shall remain on supervised release previously imposed. The defendant's supervision expires March 13,
2018.

           The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release
  from the custody of the Bureau of Prisons.
  The defendant shall not commit another federal, state or local crime.
  The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from an}'. unlawful use of a controlled
  substance. The defendant shall submit to one drug test within 15 days ofrelease from imprisonment ana at least two periodic drug
  tests thereafter as determined by the court.
  0     The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
  'if The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if
  't/ The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
  0     The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works,
        or is a student, as directed by the probation officer. (Check, if applicable.)
  0     The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
           If this judgment imposes a fme or restitution, it is be a condition of supervised release that the defendant pay in accordance
  with the Schedule of Payments sheet of this judgment.
           The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
  conditions on the attached page.

                                             STANDARD CONDITIONS OF SUPERVISION
  1)        the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)        the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)        the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
            officer;
  4)        the defendant shall support his or her dependents and meet other family responsibilities;
  5)        the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training,
            or other acceptable reasons;
  6)        the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)        the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
            controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)        the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)        the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person
            convicted of a felony, unless granted pernussion to do so by the probation officer;
  10)       the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
            confiscation of any contraband observed in plain view of the probation officer;
  11)       the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
            enforcement officer;
  12)       th~ defendant sh~ll 1.1ot enter into any agreement to act as an informer or a special agent of a law enforcement agency
            without the penmss1on of the court; and
  13)       as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
            defendant's criminal record or personal history or characteristics and shall permit the probation officer to make such
            notifications and to confirm the defendant's compliance with such notification requirement.
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 AO 2450    (Rev. 09/11) Judgment in a Criminal Case for Revocations
            Sheet JC - Supervised Release
                                                                                         Judgment-Page   _5_ of ______
                                                                                                                     ? __
 DEFENDANT: WILLIE PIERCE
 CASE NUMBER: 4:15-cr-00276-20

                                             SPECIAL CONDITIONS OF SUPERVISION

The defendant is sentenced to 30 days of residential drug treatment at a location to be approved by the probation office.
The costs of residential drug treatment shall be paid for by the government to the extent the defendant is unable to pay for
the costs of treatment.

After the 30 day residential drug treatment, the defendant must reside in chemical-free living for the remainder of his term
of supervised release at a facility as approved by the probation office. The costs of chemical-free living for the first 30
days shall be paid for by the government to the extent the defendant is unable to pay for the costs of treatment. Any costs
beyond 30 days for chemical-free living shall be the responsibility of the defendant.

The defendant shall not make application for any loan or enter into any credit arrangement without approval from the
probation office unless all criminal penalites have been satisfied.

The defendant shall disclose business and personal financial information, including all assets (including any unexpected
financial gains) and liabilities to the probation office.

The defendant shall not transfer, sell, give away or otherwise convey an asset without approval from the probation office.
  AO 2450
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             Sheet 5 - Criminal Monetary Penalties
                                                                                                                          6_
                                                                                                        Judgment - Page _ _       of      7
  DEFENDANT: WILLIE PIERCE
  CASE NUMBER: 4:15-cr-00276-20
                                                  CRIMINAL MONETARY PENALTIES

       The defendant must pay the following total criminal monetary penalties under the schedule of payments set forth on Sheet 6.


                       Assessment                                                                               Restitution
  TOTALS         $                                                                                          $ 600.00


  D The determination ofrestitution is deferred until
      entered after such determination.
                                                               ---. An Amended Judgment in a Criminal Case (AO 245C) will be
  rt/ The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.
      Ifthe defendant makes a partial payment, each payee shall receive an approximately proportioned paYillent, unless specified otherwise
      in the priority order or percentage pa)'.'ment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must
      be paid before the United States is paid.

  Name of Payee                                        Total Loss*                      Restitution Ordered              Priority or Percentage
U.S. Department of Agriculture                                   $600.00                             $600.00              Joint and Several

FNS Lock Box
Attn: Accounting Division

P.O. Box 979027
St. Louis, Missouri 63197-9000




  TOTALS                                   $                       600.00         $                   600.00
                                             ~--------


  rt/ Restitution amount ordered pursuant to plea agreement $ _6_0_0_._o_o______
  D    The defendant must pay interest on restitution or a fine more than $2i500, unless the restitution or fine is paid in full before the
       fifteenth day after the date of the jud~ent, pursuant to 18 U.S.C. § J612(f). All of the payment options on Sheet 6 may be
       subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).


  r;/ The court determined that the defendant does not have the ability to pay interest and it is ordered that:
       D the interest requirement is waived for the             D fine           "ft restitution.
       D the interest requirement for the           D fine              D restitution is modified as follows:


  *Findings forthe total amount of losses are required under Chapters 109A, 110, l lOA, and 113A ofTitle 18 for offenses committed on
  or after September 13, 1994, but before April 23, 1996.
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AO 245D      (Rev. 09/11) Judgment in a Criminal Case for Revocations
             Sheet 6- Schedule of Payments
                                                                                                                          7_ of
                                                                                                        Judgment - Page _ _            7
DEFENDANT: WILLIE PIERCE
CASE NUMBER: 4:15-cr-00276-20

                                                          SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A     D     Lump sum payment of$                                        due immediately, balance due

            D    not later than                                            , or
            D    in accordance with       D     C,    D     D,      D E,or        D F below); or

B     D     Payment to begin immediately (may be combined with                    D C,      DD, or     D F below); or

C     D     Payment in equal                 (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                         (e.g., months or years), to commence                (e.g., 30 or 60 days) after the date of this judgment; or
           -----
D     D     Payment in equal             (e.g., weekly, monthly, quarterly) installments of $                    over a period of
           - - - - - (e.g., months or years), to commence                (e.g., 30 or 60 days) after release from imprisonment to a
            term of supervision; or

E     D     Payment during the term of supervised release will commence within                (e.g., 30 or 60 days) after release from
            imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay.
F     ~ Special instructions regarding the payment of criminal monetary penalties:

          Payments are 10 percent per month of the defendant's monthly gross income.




Unless the court has expressly ordered otherwise in the special instruction above, if this judgment imposes imprisonment, payment of
criminal mone~ penalties is due during the period of imprisonment. All criminal monetary penalties, except those payments made
through the Federa Bureau of Prisons' Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




~ Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Joint and Several Amount and
      corresponding payee, if appropriate.
    Restitution in the amount of $600.00 shall be joint and several with co-defendant Khalid S.A. Alkarsh
    (4:15-cr-00276-01) and Bakil Mohamed Alqirsh (4:15-cr-00276-02) should they be ordered to pay restitution in this
    case.

D     The defendant shall pay the cost of prosecution.

D     The defendant shall pay the following court cost(s):

D     The defendant shall forfeit the defendant's interest in the following property to the United States:



Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5J fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
